          Case 1:17-cv-02989-AT Document 916 Filed 09/25/20 Page 1 of 21




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


    DONNA CURLING, ET AL.,
    Plaintiffs,
                                                     Civil Action No. 1:17-CV-2989-AT
    v.

    BRIAN KEMP, ET AL.,
    Defendants.

         EMERGENCY NOTICE OF SUPPLEMENTAL EVIDENCE RELATING TO
                 MOTIONS FOR PRELIMINARY INJUNCTION

         Coalition Plaintiffs file this Notice to bring to the Court’s immediate

attention the Secretary of State’s cancellation this afternoon of Logic and Accuracy

testing for every polling place component of the State’s Dominion Voting System

because of a defect in every county’s election management database for the

November 3, 2020 general election. Coalition was informed of this development

at approximately 5:10 PM today by counsel for Cherokee County Board of

Registration and Elections in connection with an upcoming inspection and

observation of Logic and Accuracy testing and scanner-settings testing set for next

week.1




1The inspection for next week was to be conducted pursuant to Coalition’s September 23, 2020
subpoena (Doc. 915, copy attached at Exhibit B)
        Case 1:17-cv-02989-AT Document 916 Filed 09/25/20 Page 2 of 21




      A screenshot of an email apparently sent at 4:11 p.m. today to election

officials statewide by Chris Harvey via “The Buzz Post,” (a statewide election

officials’ communications network) is attached as Exhibit A. In the email, which

bears a subject line of “Very Important Announcement Concerning Databases,”

Mr. Harvey states, in full:

      We found out that there is an error in the November database which
      will require every county to get a new database for the November 3,
      2020 election.

      We are working with Dominion to correct the error and get you new
      databases as soon as possible, but we don’t want you to waste time
      doing L&A testing that will have to be redone with a new database.

      This will not have an impact on any absentee ballot processing.
      I am very sorry to have to tell you this. I know that everyone is
      working as hard as they can to be prepared. We will do everything we
      can to minimize the delay this will cause.

      I will give you an update Monday on any ETA for your new database.

      Chris Harvey, SOS Office

(Exhibit A).

      This database defect affecting all counties in Georgia will plainly cause a

substantial and untenable delay to, if not render impossible, the State’s

programming and testing of BMDs for the November election as required by the

Georgia Election Code. Mr. Harvey stated in an August 26, 2020 declaration:

“Databases for the November election will be built in the next week.”

(Doc. 821-9, at 3). The very next Friday, September 4, 2020—three weeks ago

                                        PAGE 2
         Case 1:17-cv-02989-AT Document 916 Filed 09/25/20 Page 3 of 21




and a week prior to the just-completed preliminary injunction hearing—the State

Defendants stated that the “building of databases is nearly complete.” (Doc. 866,

at 13). Even though the databases were “nearly complete” on September 4, it was

not until today, September 25—two Fridays after the conclusion of the injunction

hearing—that the State announced that the Dominion-built databases (in their

unusual outsourcing arrangement) were in fact so completely defective that Logic

and Accuracy testing would be a waste of time and the databases must now be

completely rebuilt.2

       The impact of delaying the receipt and testing of a new November database

and the related Logic and Accuracy Testing in every county in Georgia renders the

deployment of BMDs impractical, if not impossible, for the November election,

since early voting begins on October 12—eleven business days from today. In

such a short time period, assuming there is prompt delivery of new and accurate

databases, there is still adequate time to conduct required Logic and Accuracy

testing if such testing is limited to scanners, PollPads, and just the number of

BMDs needed to serve accessibility needs. But it is clear from the evidence in the



2
 It is unclear whether the State or Dominion had knowledge of this database error when Fulton
County equipment was reprogrammed by Dominion before being provided to the Plaintiffs for
pre-hearing testing, or before or during the hearing itself, or anytime during the nine business
days that have passed since the hearing ended—a period during which the State, like the
Plaintiffs, has been anticipating a ruling on the injunction motions. Appearances obviously are
consistent with the possibility that the State may have sat on knowledge of this error in the hopes
of obtaining a ruling on the pending motions before having to disclose the error.

                                              PAGE 3
        Case 1:17-cv-02989-AT Document 916 Filed 09/25/20 Page 4 of 21




record that there will not, at this point, be sufficient time to conduct the Logic and

Accuracy testing that is required by statute for a fully deployed Dominion voting

system. During the recent injunction hearing, Defendants argued that the full Logic

and Accuracy testing required by statute (i.e., every race on every BMD for every

ballot style) was impractical under normal circumstances. By the State’s own

reasoning, if the essential mandatory testing was already too time consuming to

conduct at the time of the hearing, it is most certainly out of the question to

conduct such testing now. After all, 159 new databases must be created and

physically delivered (not electronically transmitted) to the counties—with no

“ETA” to be communicated before Monday at the earliest—after which the

databases must be tested in each county, Ga. Comp. R. & Regs. r. 183-1-12-.07(1).

      Based on Coalition Plaintiffs’ estimates, under the current plan, Logic and

Accuracy testing is required for 34,000 touchscreens, 34,000 BMD printers, 8,600

PollPads, 3,800 precinct scanners, and 175 high volume mail ballot scanners. All

of the necessary programming and testing must be postponed and restarted after

the delivery of new corrected databases. The Logic and Accuracy testing required

by statute for BMDs alone (i.e., every race on every BMD for every ballot style) is

estimated to require approximately 15 minutes per BMD unit, or 8,500 hours

statewide. Early voting begins October 12, with early voting equipment estimated

to be deployed from October 7 to October 9 for polling place set up. This only


                                        PAGE 4
       Case 1:17-cv-02989-AT Document 916 Filed 09/25/20 Page 5 of 21




leaves time to properly test PollPads, ballot scanners, and enough BMDs for

accessibility in time for the Election. Conducting in-person voting using hand

marked paper ballots, instead of BMDs, eliminates the need to test approximately

68,000 BMDs and printers in what is an otherwise impossible time frame and

makes conducting the upcoming election in a secure manner possible.

      This failure by the State (and Dominion) to deliver an accurate election

database to Georgia’s 159 counties is the latest demonstration of the wholesale

lack of readiness of the Dominion Voting System for full deployment and

compelling evidence of the State’s severe lack of ability to deploy the system. A

far more manageable, realistic, and safe solution for an orderly and defensible

November election is to use hand marked paper ballots instead of the BMD

touchscreens and printers, while maintaining a single BMD in every polling place

for accessibility needs, to satisfy the requirements of HAVA.

      Respectfully submitted this 25th day of September, 2020.

/s/ Bruce P. Brown                         /s/ Robert A. McGuire, III
Bruce P. Brown                             Robert A. McGuire, III
Georgia Bar No. 064460                     Admitted Pro Hac Vice
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                   Counsel for Coalition for Good Governance


                                       PAGE 5
      Case 1:17-cv-02989-AT Document 916 Filed 09/25/20 Page 6 of 21




/s/ Cary Ichter
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               Counsel for William Digges III, Laura Digges,
                     Ricardo Davis & Megan Missett




                                  PAGE 6
        Case 1:17-cv-02989-AT Document 916 Filed 09/25/20 Page 7 of 21




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                                 Civil Action No. 1:17-CV-2989-AT
v.
E
BRAD RAFFENSPERGER, ET AL.,
Defendants.

             CERTIFICATE OF SERVICE AND COMPLIANCE

      I hereby certify that on September 25, 2020, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record. In addition,

pursuant to LR 7.1(D), I hereby certify that the foregoing document has been

prepared in accordance with the font type and margin requirements of LR 5.1,

using font type of Times New Roman and a point size of 14.

                                                 /s/ Bruce P. Brown
                                                 Bruce P. Brown




                                        PAGE 7
Case 1:17-cv-02989-AT Document 916 Filed 09/25/20 Page 8 of 21




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Case 1:17-cv-02989-AT Document 916 Filed 09/25/20 Page 9 of 21
Case 1:17-cv-02989-AT Document 916 Filed 09/25/20 Page 10 of 21




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        Case1:17-cv-02989-AT
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                                             Filed09/25/20
                                                   09/23/20 Page
                                                             Page11
                                                                  1 of 4
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,                  )
                                        )
              Plaintiffs,               )
                                        )     CIVIL ACTION
 vs.                                    )
                                        )     FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER,                     )
ET AL.,                                 )
                                        )
              Defendants.               )

          COALITION PLAINTIFFS’ NOTICE OF INTENT TO
       SERVE SUBPOENA TO PERMIT INSPECTION OF PREMISES

       Pursuant to Rule 45(a) of the Federal Rules of Civil Procedure, Plaintiffs

Coalition for Good Governance, William Digges III, Laura Digges, Ricardo Davis,

and Megan Missett (“Coalition Plaintiffs”) hereby notify all parties that they intend

to serve a subpoena on Kim Stancil – Elections Director, Cherokee County Board of

Elections and Voter Registration (“Cherokee Board”), commanding permission to

permit entry onto designated land or other property possessed or controlled by the

Cherokee Board and permission to permit the inspection, measuring, surveying,

photographing, testing, and/or copying of the property or any designated object or

operation on it as set forth in the Subpoena and Attachment “A”, attached hereto as

Exhibit 1.
Case
 Case1:17-cv-02989-AT
      1:17-cv-02989-AT Document
                        Document916
                                 915 Filed
                                      Filed09/25/20
                                            09/23/20 Page
                                                      Page12
                                                           2 of 4
                                                                21




This 23rd day of September, 2020.

                              Respectfully submitted,

                              /s/ Cary Ichter
                              CARY ICHTER
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                              Attorneys for Plaintiffs Coalition for Good
                              Governance, William Digges III, Laura
                              Digges, Ricardo Davis, and Megan Missett
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        Case1:17-cv-02989-AT
             1:17-cv-02989-AT Document
                               Document916
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                                                   09/23/20 Page
                                                             Page13
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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in

accordance with the font type and margin requirements of LR 5.1, using font type

of Times New Roman and a point size of 14.


                                            /s/ Cary Ichter
                                            Cary Ichter
                                            Georgia Bar No. 382515
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             1:17-cv-02989-AT Document
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                                             Filed09/25/20
                                                   09/23/20 Page
                                                             Page14
                                                                  4 of 4
                                                                       21




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,                   )
                                         )
             Plaintiffs,                 )
                                         )       CIVIL ACTION
v.                                       )
                                         )       FILE NO. 1:17-CV-2989-AT
BRAD RAFFENSPERGER,                      )
ET AL.,                                  )
                                         )
             Defendants.                 )


                           CERTIFICATE OF SERVICE

      I hereby certify that on September 23, 2020, I filed a true and correct copy of

the foregoing COALITION PLAINTIFFS’ NOTICE OF INTENT TO SERVE

SUBPOENA FOR INSPECTION OF PREMISES, on counsel of record with the

Clerk of Court using the CM/ECF system, which will automatically send notification

of such filing to all attorneys of record.

                                                 /s/ Cary Ichter
                                                 Cary Ichter
                                                 Georgia Bar No. 382515




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Case 1:17-cv-02989-AT
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                                           09/25/20
                                             09/23/20Page
                                                       Page
                                                          151ofof21
                                                                  7
Case
Case 1:17-cv-02989-AT
     1:17-cv-02989-AT Document
                      Document 916
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                                           09/25/20
                                             09/23/20Page
                                                       Page
                                                          162ofof21
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Case 1:17-cv-02989-AT
     1:17-cv-02989-AT Document
                      Document 916
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                                           09/25/20
                                             09/23/20Page
                                                       Page
                                                          173ofof21
                                                                  7
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Case 1:17-cv-02989-AT
     1:17-cv-02989-AT Document
                      Document 916
                               915-1Filed
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                                           09/25/20
                                             09/23/20Page
                                                       Page
                                                          184ofof21
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Case 1:17-cv-02989-AT
     1:17-cv-02989-AT Document
                      Document 916
                               915-1Filed
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                                           09/25/20
                                             09/23/20Page
                                                       Page
                                                          195ofof21
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Case 1:17-cv-02989-AT
     1:17-cv-02989-AT Document
                      Document 916
                               915-1Filed
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                                           09/25/20
                                             09/23/20Page
                                                       Page
                                                          206ofof21
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Case 1:17-cv-02989-AT
     1:17-cv-02989-AT Document
                      Document 916
                               915-1Filed
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                                           09/25/20
                                             09/23/20Page
                                                       Page
                                                          217ofof21
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